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uNlTED sTATEs oF AMERch GLEWH;D;' %§ rW%B

Plaintiff
vs.

cR. No. 05-20122-0

AARON B. coBB.
BRENDA coLBERT

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
' AND SE`I`I'|NG

 

This cause came on for a report date on July 21, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with

a report date of Thursda)¢l August 25l 2005, at 9:00 a.m., in Courgoom 3. 9th F|oor of

the Federal Building, Memphis, TN.

 

The period from August 12, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

lT |S SO ORDERED thisé.$/ day Of July, 2005.

§RN|CE B. §ONALD

UN|TED STATES DlSTR|CT JUDGE

vhls documenten!ered on the dockets ` \ o §§

Flule 55 and/or 32(b) FRCrP on _ _.._

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:05-CR-20122 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

